     Case 1:11-cv-00691-LAK-JCF Document 1965 Filed 03/19/18 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

-------------------------------------x
                                     :
CHEVRON CORPORATION,                 :
                                     :
               Plaintiff,
                                     :
     v.                              : 11 Civ. 0691 (LAK)
                                     :
STEVEN DONZIGER, et al.,             :
                                     :
               Defendants.           :
                                     :
-------------------------------------x


[PROPOSED] ORDER TO SHOW CAUSE TO GRANT CHEVRON CORPORATION’S
 EX PARTE APPLICATION FOR DISCOVERY AND A PRESERVATION ORDER IN
 FURTHERANCE OF THIS COURT’S MARCH 4, 2014 JUDGMENT AND TO SET A
     HEARING DATE SUBSEQUENT TO THAT DISCOVERY ON CHEVRON’S
      APPLICATION TO HAVE STEVEN DONZIGER HELD IN CONTEMPT

       WHEREAS, on March 19, 2018, petitioner Chevron Corporation (“Chevron”) filed a

Motion By Order to Show Cause to grant Chevron’s ex parte application to (1) require Donziger,

as well as any other person or entity acting at his direction or in concert with him, to preserve

and maintain within the U.S. any and all documents or evidence relating to the Judgment or

compliance therewith; (2) authorize Chevron ex parte to serve post-judgment discovery on

Donziger and any other person or entity reasonably calculated to possess information relevant to

enforcement of the Judgment, and; (3) set a prompt briefing schedule and hearing date to adjudi-

cate Donziger’s contempt and determine the appropriate remedy to compel Donziger’s compli-

ance with the Judgment, following an appropriate period of time for Chevron to conduct the re-

quested discovery.




                                               1
     Case 1:11-cv-00691-LAK-JCF Document 1965 Filed 03/19/18 Page 2 of 3



       The Court has considered the accompanying Memorandum of Law In Support Of Chev-

ron’s Application, Declarations of Randy Mastro and Lee Grinberg (and attached exhibits), and

arguments presented, and sufficient reason appearing, it is hereby:

       ORDERED that Chevron shall serve on Donziger, by hand, facsimile, or e-mail a copy of

this Order to Show Cause and all papers submitted in support thereof on or before ___:____

__.m. on March __, 2018; and

       ORDERED that Donziger, as well as any other person or entity acting at his direction or

in concert with him, including, without limitation, Katie Sullivan, Streamline Family Office,

Inc., Jonathan Bush, and athenahealth, Inc., preserve and maintain within the United States any

and all documents or evidence relating to the Judgment or compliance therewith;

       ORDERED that Chevron may serve post-judgment discovery requests and subpoenas on

Donziger and any other person or entity reasonably calculated to possess information relevant to

enforcement of the Judgment, including, without limitation, Katie Sullivan, Streamline Family

Office, Inc., Jonathan Bush, and athenahealth, Inc., in the form of the discovery requests and

subpoenas submitted with this Application; and

       ORDERED that the Court shall permit a reasonable period of 60 days or more for Chev-

ron to conduct this discovery up to and including __________, 2018, and, afterward, permit

briefing and then hold a hearing on Chevron’s Application on the dates set forth below;

       ORDERED that, after conducting discovery, Chevron shall file and serve additional pa-

pers in support of its Application to have Donziger held in contempt, if any, on or before

__________, 2018; and

       ORDERED that Donziger shall file and serve papers in opposition to Chevron’s Applica-

tion to have him held in contempt, if any, on or before __________, 2018; and
     Case 1:11-cv-00691-LAK-JCF Document 1965 Filed 03/19/18 Page 3 of 3



       ORDERED that Chevron shall file reply papers in support of its Application to have

Donziger held in contempt, if any, on or before __________, 2018;

       ORDERED that Donziger must show cause before this Court, at the United States Dis-

trict Courthouse, Room 12D, 500 Pearl Street, New York, New York, on __________, 2018 at

___:____ __.m. why an order should not be entered holding Donziger in contempt for his refusal

to comply with the Judgment and imposing sanctions.

       IT IS SO ORDERED.

Dated: New York, New York
March __, 2018
                                                  _____________________________
                                                  United States District Judge
